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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION

   DAVID JOHNSON,

                              Petitioner,

   -vs-                                           Case No. 5:16-cv-685-Oc-10PRL
                                                           5:06-cr-29-Oc-10PRL

   UNITED STATES OF AMERICA,

                       Respondent.
   _________________________________/

                 ORDER DISMISSING § 2255 MOTION AS SUCCESSIVE

          This matter is before the Court on Doc. 1, Petitioner’s pro se motion to vacate

   his sentence pursuant to 28 U.S.C. § 2255. Following a jury trial, Petitioner was found

   guilty on January 26, 2007, of the offense of conspiring to distribute both cocaine and

   cocaine base, or crack cocaine, in violation of 21 U.S.C. § 846. (Cr. Doc. 283)

   (Criminal Case No. 5:06-cr-29-Oc-10PRL.) Petitioner was sentenced on June 21, 2007

   to life imprisonment. (Cr. Docs. 389, 410.)

          Petitioner appealed, and the United States Court of Appeals for the Eleventh

   Circuit affirmed his convictions and sentence on January 12, 2010 (Cr. Doc. 504.)1

   Petitioner filed a motion to vacate, set aside, or correct his sentence pursuant to 28

   U.S.C. § 2255 in January 2012 (Cr. Doc. 570) (Civil Case No. 5:12-cv-59-Oc-10TBS).


      1
        The January 12, 2010 opinion and mandate was vacated by order of the court of appeals
entered February 10, 2011 (Doc. 529) and was re-entered the same day to permit Defendant
Maurice Benn to file a petition for certiorari.
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   The Court denied the § 2255 motion to vacate with prejudice, finding it to be time-

   barred and otherwise without merit. (Cr. Doc. 580.) Petitioner appealed, and on

   December 3, 2012, the court of appeals his denied his motion for a certificate of

   appealability. (Civ. Doc. 16.)

         Petitioner, pro se, has now filed a second motion under § 2255 (Case No. 5:16-

   cv-685; Doc. 1). The instant § 2255 motion is a second or successive application for

   relief. This Court cannot entertain any successive motions under § 2255 unless and

   until the Petitioner obtains permission from the Court of Appeals to pursue such a

   successive motion. 28 U.S.C. § 2255(h). See also 28 U.S.C. § 2244(b)(3). Because

   there is nothing in the record demonstrating that the Petitioner has received such

   permission, the Court is without jurisdiction to review the successive motion, and

   Petitioner’s Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence

   (Case No. 5:16-cv-685; Doc. 1) is hereby DISMISSED.

         The Clerk is directed to enter judgment accordingly, terminate all other pending

   motions, and close the file.

         IT IS SO ORDERED.

         DONE and ORDERED at Ocala, Florida this 8th day of December, 2016.




   Copies to:   Counsel of Record
                David Johnson, pro se
                Mari Jo Taylor, Courtroom Deputy

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